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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION


   CHRISTIAN AYALA,                             )
                                                )
                               Plaintiff,       )
                                                )
                       vs.                      )     No. 1:16-cv-1266-TWP-DKL
                                                )
   BUTLER UNIVERSITY, et al.,                   )
                                                )
                               Defendants.      )


    Order on Plaintiff’s Motion for Extension of Time to Complete Non-
    Expert Witness Discovery and Discovery Related to Liability Issues
                                 (Dkt. 109)

        On Saturday, February 10, 2018, the plaintiff filed a motion for extension of

 time (28 days) to complete non-expert witness discovery and discovery related to

 liability issues.

        The plaintiff’s motion states he needs additional time for discovery because

 his counsel lives in Miami, Florida, and all depositions will need to be taken in

 Indianapolis, Indiana. In addition, his counsel was scheduled to begin a five-day

 jury trial on February 12, 2018. The motion indicates that the parties’ counsel have

 discussed setting the defendants’ depositions “for a specific period of time to allow

 Plaintiff to minimize his costs which he must incur in order to have his attorney

 travel and stay in Indianapolis for an extended time, so as to avoid multiple trips

 from Miami just to complete discovery.” (Dkt. 109 at p. 2, ¶ 3). According to the
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 motion, the requested extension would not affect any other Case Management Plan

 deadline (CMP)1 or the trial date, which is December 10, 2018.2

       On May 18, 2017, the court approved the CMP, as modified, setting February

 12, 2018, as the deadline for liability discovery. (Dkt. 52; Dkt. 48 at p. 7, IV.B).

       The motion states that it “is unopposed.” (Dkt. 109 at p. 2 ¶ 9). However, on

 February 12, 2018, the defendants filed an opposition to the motion, stating that the

 plaintiff’s counsel never consulted with their counsel about the requested extension.

 The defendants do object to the requested extension. (Dkt. No. 110 at p. 1). The

 plaintiff’s reply brief clarifies that a miscommunication between counsel occurred,

 because plaintiff’s counsel believed defense counsel had agreed to a 28-day

 extension of the discovery deadline. The parties, however, had been discussing an

 extension only of the deadline for the plaintiff to supplement his discovery

 responses. The court accepts that explanation.

       The defendants contend that the plaintiff has failed to show good cause for an

 extension of the discovery deadline, as required by Federal Rule of Civil Procedure

 16(b)(4). They represent that in the nine months since the discovery deadline was

 set, the plaintiff has failed to complete any discovery, and instead, on February 10,

 2018, requested an extension and served requests for production of documents and

 interrogatories on the defendants. The defendants represent that they have




 1     April 10, 2018, is the dispositive motion deadline; August 10, 2018, is the
 deadline for expert witness discovery and discovery on damages. (Dkt. 48 at p.7).

 2     The final pretrial conference is on November 14, 2018. (Dkt. 81).
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 completed all of their non-expert and liability discovery, serving written discovery

 on the plaintiff, subpoenaing his medical records, and taking his deposition. They

 state that months ago, their counsel discussed with plaintiff’s counsel setting

 depositions in a one-week period, but they never agreed to a specific time period in

 which to take the depositions. According to the defendants, the plaintiff’s counsel

 never followed-up on that discussion, did not suggest specific dates for the

 depositions, did not identify whom he wanted to depose, did not ask about the dates

 on which any of the defendants would be available, and did not send out deposition

 notices. And the defendants assert that their counsel never would have agreed to

 taking depositions after the close of liability discovery.

        The plaintiff’s February 10 discovery requests are untimely. Under the CMP,

 as approved by the court (Dkt. 52 at p.1), counsel may not serve any discovery

 requests within 30 days of the discovery deadline “unless they seek leave of Court to

 serve a belated request and show good cause for the same.” (Dkt. 48 at p. 7, fn.1).

 The plaintiff did not seek leave of court to serve the untimely discovery requests;

 nor has he shown good cause for doing so. In addition, the CMP requires counsel to

 file the belated discovery requests with a motion for extension of time. (Id.). The

 plaintiff failed to comply with this requirement as well. The court excuses this

 noncompliance since the plaintiff has provided copies of the discovery requests with

 his reply brief.

        In deciding whether a party has shown “good cause” for modifying a

 scheduling order, the court’s “primary consideration … is the diligence of the party



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 seeking amendment” to the order. Alioto v. Town of Lisbon, 651 F.3d 715, 720 (7th

 Cir. 2011). “Good cause” is shown when a party demonstrates “that, ‘despite its

 diligence, the established timetable could not be met.’” Adams v. N. Ind. Pub. Serv.

 Co., No. 2:10-cv-469, 2015 WL 4715120, at *1 (N.D. Ind. Aug. 7, 2015) (quoting

 Tschantz v. McCann, 160 F.R.D. 568, 571 (N.D. Ind. 1995)).

       The plaintiff’s motion does not address his failure to complete any discovery

 before the discovery deadline. Nor does it explain why he waited until two days

 before the deadline to serve his only discovery requests. Furthermore, neither the

 fact that the plaintiff’s counsel lives in Miami, Florida, and has to travel to

 Indianapolis to take depositions, nor the fact that he was to begin a five-day jury

 trial on February 12, 2018, explains why the plaintiff could not have served any

 written discovery requests before mid-February and within the time allowed under

 the CMP (mid-January 2018). If these had been the only explanations offered by

 the plaintiff, the court would have been compelled to find that he failed to

 demonstrate good cause to extend the deadline.

       But what is missing from the plaintiff’s motion is provided in his reply. A

 series of family health issues arose for the plaintiff’s counsel beginning in the late

 summer of 2016 and continuing, as the court understands the motion, into January

 of this year (see Dkt. 115 at pp. 3–5), that affected his ability to take discovery

 during the time allowed in the CMP. The plaintiff has shown good cause for

 extending the deadline for non-expert discovery and discovery related to liability,




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 and he has shown sufficient cause for the belated February 10, 2018 discovery

 requests.

       Plaintiff’s counsel is correct that he should have brought these issues to the

 attention of opposing counsel and the court much sooner. Waiting until the eve of

 the discovery deadline does not reflect diligence, but the court understands that the

 unexpected death of a family member on New Year’s Eve Day may have affected

 counsel’s ability to bring the personal issues to the attention of opposing counsel

 and the court in a more timely fashion.

       Plaintiff’s reply states that he seeks a limited amount of discovery, namely:

 (1) production from Defendant Butler of the CD of the disciplinary proceedings so

 that a transcript of the hearing can be created at Plaintiff’s expense; (2) production

 of a limited number of documents as spelled out in a Request for Production served

 on Defendant Butler (copy attached as an exhibit to plaintiff’s reply, see Dkt. 115-2);

 (3) answers to one set of interrogatories served only on Defendant Butler (copy

 attached to plaintiff’s reply, see Dkt. 115-3); (4) the taking of a deposition of a

 corporate representative of Butler; and (5) the taking of, at most, two additional

 depositions, one of former defendant “JANE SMITH,” the other of the assistant

 district attorney who investigated possible criminal charges against PLAINTIFF

 arising out of the same episode which led to his expulsion from BUTLER. This is

 the limited discovery that the plaintiff will be allowed.

       For the foregoing reasons, the plaintiff’s motion for extension of time to

 complete non-expert witness discovery and liability discovery (Dkt. 109) is



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 GRANTED and it is ORDERED that the parties shall have 28 days from the date

 of this order, that is, until March 27, 2018, to complete non-expert witness

 discovery and discovery related to liability, and the plaintiff is limited to the

 following discovery: (1) production from Defendant Butler of the CD of the

 disciplinary proceedings so that a transcript of the hearing can be created at

 Plaintiff’s expense; (2) production of a limited number of documents as spelled out

 in a Request for Production served on Defendant Butler (see Dkt. 115-2); (3)

 answers to one set of interrogatories served only on Defendant Butler (see Dkt. 115-

 3); (4) the taking of a deposition of a corporate representative of Butler; and (5) the

 taking of, at most, two additional depositions, one of former defendant “JANE

 SMITH,” the other of the assistant district attorney who investigated possible

 criminal charges against PLAINTIFF arising out of the same episode that led to his

 expulsion from BUTLER.

       So ORDERED.
        Date: 2/27/2018                ____________________________________
                                          Debra McVicker Lynch
                                          United States Magistrate Judge
                                          Southern District of Indiana

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